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  7
  8                       UNITED STATES DISTRICT COURT
  9
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 LEGACY INSURANCE SOLUTIONS                   Case No. 2:20-cv-04097-DSF-JEM
    LLC, a California limited liability
 12 company, and BRADLEY TIERNEY an              DEFENDANTS’ OPPOSITION TO
 13 individual,                                  PLAINTIFFS’ EX PARTE
                                                 APPLICATION TO HAVE THIS
 14              Plaintiffs,                     COURT RETAIN JURISDICTION
 15                                              AS AGAINST DEFENDANTS
          v.                                     ASSERTION OF FLORIDA STATE
 16                                              COURT JURISDICTION PENDING
 17 ABS HEALTHCARE SERVICES, LLC, a              A HEARING ON PLAINTIFFS’
    Florida limited liability company, and       MOTION TO RETAIN
 18 HEALTH OPTION ONE, LLC, a Florida            CALIFORNIA JURISDICTION
 19 limited liability company, and DOES I
    through 20, inclusive,
 20
 21                Defendants.

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  1                                    INTRODUCTION1
  2         There are five independent reasons why Plaintiffs’ motion should be denied.
  3         First, there is a clear, unambiguous forum selection clause in the Agreement at
  4 issue in which Tierney (the only party sued in the Florida action) waived his right to
  5 sue outside of Florida and agreed that all litigation arising out of, or relating to, the
  6 Agreement would be in Florida. No federal case applying Donovan v. City of Dallas,
  7 377 U.S. 408 (1964), the principal predicate for Plaintiffs’ motion, has ever involved
  8 the enforcement of a forum selection clause.
  9         Second, Defendants do not seek to prevent Tierney from bringing suit in federal
 10 court, so long as he complies with the Agreement’s venue provision. On the contrary,
 11 Defendants have moved to have this case transferred to the federal court in Broward
 12 County, Florida (where the forum selection clause would be satisfied and where the
 13 Court would unquestionably have personal and subject matter jurisdiction over any
 14 litigation between Tierney and Defendants).
 15         Third, because the injunction Plaintiffs seek would preclude the state court from
 16 adjudicating the merits of the parties’ forum selection clause and, if found valid,
 17 enforcing that clause, Plaintiffs’ motion is barred by the Anti Injunction Act.
 18         Fourth, Plaintiffs make their motion even though they are simultaneously taking
 19 the position in their motion to remand that this Court lacks subject matter jurisdiction
 20 and therefore (a) does not have any jurisdiction to interfere with, and (b) does not have
 21 jurisdiction to enter, the order Plaintiffs seek.
 22         Fifth, Plaintiffs have not shown any “likely” threat of irreparable harm.
 23                                      BACKGROUND
 24         Plaintiff Tierney and Defendants ABS Health Services, LLC and Health Option
 25 One, LLC (Defendants collectively referred to as “ICD”) are parties to an agreement
 26
 27   1
      This Court held that Plaintiffs’ application was not appropriate for expedited, ex parte
    treatment and set a regular briefing schedule. D.E. 26. Defendants instead address
 28 only the merits of the application.
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  1 titled “Independent Agent or Agency of Record Agreement” (the “ICD Exclusive
  2 Agent Agreement”). See D.E. 1-1 at 16. That agreement provides in clear and
  3 unambiguous language that venue for any dispute arising out of or related to the
  4 performance of the agreement “shall lie in Broward County, Florida.” Id. at 26, Section
  5 XV. That is why—before Tierney commenced this action in California state court—
  6 ICD filed its action in Broward County to seek redress for Tierney’s violations of the
  7 ICD Exclusive Agent Agreement.2 Rather than defend that first-filed action in the
  8 exclusive venue to which he agreed when he executed the agreement, Tierney chose to
  9 file this action in an effort to end-run the venue provision of the agreement.
 10                                      ARGUMENT
 11         A.    Because ICD Seeks Only to Enforce the Valid, Binding Forum
 12               Selection Clause, Donovan Is Inapplicable

 13         Plaintiffs seek to enjoin the Florida state court—where venue properly lies—
 14 based on the holding in Donovan v. City of Dallas, 377 U.S. 408 (1964), that a state
 15 court may not enjoin a party from exercising his right to litigate in a federal court.
 16 However, there was no forum selection clause in Donovan, and Donovan has no
 17 application to this case. Insofar as we are aware, no federal court has ever, based on
 18 the rule in Donovan, enjoined a state court, or parties litigating in state court, from
 19 enforcing a valid forum selection clause, and Plaintiffs cite none.
 20         Here, ICD in the Florida action seeks only to enjoin Tierney from violating his
 21 agreement to litigate his dispute with ICD in Florida, which is a right bargained for by
 22 ICD.     ICD thus has requested an injunction “enforcing the clear and unambiguous
 23 provision in the agreement at issue in this lawsuit (which designates Broward County
 24 as the sole and exclusive venue).” Exhibit 1 at 15.3 There was no such agreement as
 25
 26   2
        The Florida action was filed on April 22, 2020, D.E. 15-2, whereas the California
      action was filed on April 23, 2020, D.E. 1-1.
 27  “Exhibit” refers to exhibits to the Declaration of Edward H. Takashima,
      3

    attached hereto. Exhibit 1 is ICD’s Motion for Anti-Suit Injunction, filed in
 28 Florida state court on May 8, 2020.
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  1 to venue in Donovan. That is a critical distinction because ICD’s motion is based on
  2 Tierney’s selection of a venue at the time of the agreement—and is not an attempt to
  3 force upon Tierney a venue to which he has not agreed.
  4         As the Supreme Court has recognized, Donovan “was premised on the fact that
  5 the right to litigate in federal court is granted by Congress and, consequently, ‘cannot
  6 be taken away by the State.’” Gen. Atomic Co. v. Felter, 434 U.S. 12, 16 (1977). Here,
  7 Tierney’s right to litigate in federal court is not in danger of being “taken away by” the
  8 state court. Tierney voluntarily gave up his right to litigate outside Florida when he
  9 signed his agreement. Tierney could have chosen to file this action in federal court in
 10 Florida. But what Tierney could not do is bring this action in a court located outside
 11 of Broward County, Florida. He waived the right to do that when he entered into the
 12 agreement with ICD.
 13         Indeed, such forum selection agreements are routinely enforced by federal
 14 courts, see M/S Bremen v. Zapata Off–Shore Co., 407 U.S. 1 (1972), by California
 15 courts, see Smith, Valentino & Smith, Inc. v. Super. Ct., 17 Cal.3d 491 (Cal. 1976), and
 16 by Florida courts, see Manrique v. Fabbri, 493 So. 2d 437 (Fla. 1986). The reason for
 17 that, as explained by the Florida Supreme Court, makes clear why the requested
 18 injunction here should issue: venue agreements “eliminate uncertainty as to the nature,
 19 location, and outlook of the forum in which parties ... might find themselves.” Id. at
 20 439 (citing Zapata, 407 U.S. at 13–15). Tierney’s violation of the venue provision of
 21 his agreement with ICD undermines not only ICD’s contractual rights, but federal
 22 public policy.
 23         It should be noted that, despite his enthusiastic defense of this Court’s
 24 jurisdiction, Tierney is not even trying to proceed in this Court. Tierney filed his
 25 lawsuit in state court in California and ICD removed it to federal court. Tierney has
 26 argued in that case that there is no federal subject matter jurisdiction and has moved to
 27 remand the action to California state court. Donovan by its terms bars injunctions
 28 against federal court ligation where “plaintiffs in the second suit chose to file that case
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  1 in the federal court.” 377 U.S. at 412. Tierney did not choose to file his action in this
  2 Court and, instead, is fighting to get out of this Court.
  3         California courts, where Tierney wants to pursue his action, have recognized the
  4 proprietary of both issuing and deferring to anti-suit injunctions. See Advanced Bionics
  5 Corp. v. Medtronic, Inc., 29 Cal. 4th 697, 704, 59 P.3d 231 (2002), as modified (Mar.
  6 5, 2003) (“the courts of this state have the same power to restrain persons within the
  7 state from prosecuting actions in either domestic or foreign jurisdictions which courts
  8 of equity have elsewhere”) (quotation omitted); Proctor v. Vishay Intertechnology,
  9 Inc., 152 Cal. Rptr. 3d 914, 923 (Ct. App. 2013) (noting that that the “principle” that
 10 antisuit injunctions should be issued sparingly “is applicable to a court that is
 11 considering whether to issue such a restraint, not the court that must decide whether to
 12 honor it,” and thus “any opposition to the antisuit injunction issued in Delaware should
 13 have been raised in the Delaware court,” though ultimately finding it unnecessary to
 14 decide whether to honor the injunction).
 15         Indeed, the Ninth Circuit has squarely supported the issuance of anti-suit
 16 injunctions to enforce forum selection clauses, noting that “without the availability of
 17 anti-suit injunctions, the vitality of forum selection clauses would be impermissibly
 18 and improvidently jeopardized.” Applied Med. Distribution Corp. v. Surgical Co. BV,
 19 587 F.3d 909, 919 (9th Cir. 2009) (finding district court abused its discretion in denying
 20 anti-suit injunction); see also Mastronardi Int'l Ltd. v. SunSelect Produce (California),
 21 Inc., 118CV00737AWIJLT, 2020 WL 520167, at *9 (E.D. Cal. Jan. 31, 2020) (“‘norms
 22 of comity’ are generally not breached when an anti-suit injunction is required to uphold
 23 a forum-selection clause in a purely contractual dispute involving only private parties”)
 24 (quoting E. & J. Gallo Winery v. Andina Licores S.A., 446 F.3d 984, 994 (9th Cir.
 25 2006)).
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            B.     ICD Does Not Seek to Prevent Tierney from Bringing Suit in Federal
  1                Court
  2         Contrary to Tierney’s suggestions, ICD does not seek to prevent Tierney from
  3 prosecuting his action in federal court. As discussed above, ICD only seeks to enforce
  4 the venue provision that the parties bargained for. Tierney could have sued in federal
  5 court in Florida. In fact, ICD has moved to transfer this action to federal court in
  6 Florida, where venue would be proper under the forum selection clause, and is prepared
  7 to litigate there. Mr. Tierney can stipulate to that transfer at any time, and then litigate
  8 the claims by and against him in the federal court designated by the forum selection
  9 clause he agreed to.
 10         C.     The Anti-Injunction Act Precludes Issuing the Relief Plaintiffs’ Seek
 11         Plaintiffs ask this Court to, among other things, enjoin “the Circuit Court for the
 12 Seventeenth Judicial Circuit in and for Broward County, Florida from issuing any order
 13 or taking any action interfering with this Court’s jurisdiction.” D.E. 22-2. Such relief
 14 is forbidden by the Anti-Injunction Act, 28 U.S.C. § 2283, which states that “A court
 15 of the United States may not grant an injunction to stay proceedings in a State court
 16 except as expressly authorized by Act of Congress, or where necessary in aid of its
 17 jurisdiction, or to protect or effectuate its judgments.” The relief Plaintiffs seek would
 18 preclude the Florida court from adjudicating the merits of Plaintiffs’ forum selection
 19 clause, and enforcing that clause were it found valid.
 20         The Anti-Injunction Act is “an absolute prohibition against enjoining state court
 21 proceedings, unless the injunction falls within one of three specifically defined
 22 exceptions.” Atl. Coast Line R. Co. v. Bhd. of Locomotive Engineers, 398 U.S. 281,
 23 286 (1970). The relief Plaintiffs seek, enjoining a Florida state court that has
 24 concurrent jurisdiction over the parties from “interfering with this Court’s jurisdiction,”
 25 does not fall into any of the three exceptions, including the “necessary in aid of its
 26 jurisdiction” exception.
 27         “In general, the necessary-in-aid-of-jurisdiction exception applies to in rem
 28 proceedings where the federal court has jurisdiction over the res and the state court
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  1 proceedings might interfere with that.” Negrete v. Allianz Life Ins. Co. of N. Am., 523
  2 F.3d 1091, 1101 (9th Cir. 2008). That “principle does not authorize interference with
  3 parallel in personam state actions merely because the state courts might reach a
  4 conclusion before the district court does.” Id. Thus an injunction is improper where
  5 ‘the state and federal courts had concurrent jurisdiction ..., and neither court was free
  6 to prevent either party from simultaneously pursuing claims in both courts.’” Id.
  7 (quoting Atlantic Coast Line, 398 U.S. at 295). The Ninth Circuit has been clear that
  8 “the mere fact that the actions of a state court might have some effect on the federal
  9 proceedings does not justify interference” and the “the mere fact that a state court may
 10 reach a conclusion that differs from what a federal court would prefer does not change
 11 the result.” Id. at 1101-02; see also Charles Alan Wright et al., 17A Federal Practice
 12 & Procedure § 4225 (3d ed. 2020 ) (“The general rule remains, however, that an
 13 injunction cannot issue to restrain a state action in personam involving the same subject
 14 matter from going on at the same time.”).
 15         Here, Plaintiffs seek to enjoin a concurrently-proceeding in personam action in
 16 Florida. As explained above, the thrust of the motion that ICD filed in the Florida
 17 Court, see Exhibit 1, is to enforce the valid and binding forum selection clause, which
 18 is a proper use of anti-suit injunctions under both Florida and California law. See
 19 United Brands, S.A. v. Diageo Dominicana, S.R.L., 209 So. 3d 67 (Fla. 3d DCA 2016).
 20         Plaintiffs cite no case, and we are aware of none, that grants the relief Plaintiffs
 21 seek.
 22         D.    Plaintiffs’ Motion Contradicts Their Own Contemporaneous Position
                  on this Court’s Jurisdiction
 23
 24         Plaintiffs have taken the position that this Court lacks subject matter jurisdiction
 25 and should remand this action to California state court. D.E. 10, D.E. 11. Yet,
 26 Plaintiffs now ask for this Court to enforce its jurisdiction vis a vis a Florida court.
 27 These requests for relief are inherently contradictory; this Court should decline to grant
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  1 the requested relief so long as Plaintiffs maintain their position that this Court lacks
  2 subject matter jurisdiction.
  3         E.    Plaintiffs Are Not “Likely” to Suffer Irreparable Harm
  4          “Plaintiffs must demonstrate that irreparable injury is likely in the absence of
  5 an injunction. A possibility of irreparable harm cannot support an injunction.”4 Nat’l
  6 Wildlife Fed'n v. Nat'l Marine Fisheries Serv., 886 F.3d 803, 817 (9th Cir. 2018)
  7 (quotation omitted) (citation and quotation marks omitted) (emphasis in original).
  8         Plaintiffs have made no effort to show that they will suffer irreparable injury if
  9 they do not receive the injunction they request, much less that such injury is “likely”
 10 absent the injunction. Nat’l Wildlife Fed’n, 886 F.3d at 817.
 11         Donovan did not involve an injunction of a state court proceeding. In Donovan
 12 the state court injunction against proceeding elsewhere was appealed and reversed.
 13 Tierney has already made his Donovan objections in Florida. If that objection is
 14 overruled, he, like Donovan, can appeal. Plaintiffs have made no showing, and can
 15 make no showing, that requiring Tierney to litigate in the forum he agreed to can
 16 constitute irreparable harm.
 17         If there is any threat of irreparable harm, the parties threatened are Defendants,
 18 who are being deprived of the benefit of the forum selection clause they bargained for
 19 and forced to litigate on multiple fronts.
 20                                      CONCLUSION
 21         For the foregoing reasons, ICD respectfully requests that the Court deny
 22 Plaintiffs’ motion to enjoin the pending Florida state court action.
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 27   4
      It is unclear from Plaintiffs’ filings whether they are seeking a temporary or
    permanent injunction; the proposed order does not appear to have a time limit on its
 28 proposed relief, suggesting a permanent injunction.
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  1 DATED: May 26, 2020                Respectfully submitted,

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